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                 Reply to the Attention of:   Audrey Winn, Esq.

VIA ECF

April 29, 2022

The Honorable Ronnie Abrams
United States District Court
Southern District of New York
40 Foley Square, Room 2203
New York, NY 10007

Re:    Walsh v. Velo Corporation of America et al.
       Civil Dkt. No. 22-560

Dear Judge Abrams:

       Plaintiff Martin J. Walsh, Secretary of Labor, United States Department of Labor (the
“Secretary”), submits this letter on behalf of all parties to request an extension of 30-days to
submit the joint status letter and joint planning recommendations currently due on April 29, 2022
and a continuance of 30-days for the status conference currently scheduled for May 6, 2022 at 11
a.m.

        The Secretary and defendants are working in earnest to attempt to resolve this matter
without the Court’s further involvement. The parties are hopeful that we can resolve this matter
within the next 30-days, and have made significant progress to that end. The parties will
promptly inform the Court of a settlement or failure to reach a settlement, to preserve judicial
resources. The parties in this case mutually request this extension and continuance and no prior
extensions or continuances have been requested or granted.

       Thank you for Your Honor’s time and attention to this matter.


Respectfully Submitted,

Jeffrey S. Rogoff
Regional Solicitor

By:    /s/ Audrey Winn
       Trial Attorney, NYRSOL

Cc: All defendants by email, with consent



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